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Salvatore LaMonica, Esq.

UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK
-------------------------------------------------------------X
In re:
                                                                    Chapter 7
TONI ANN SORRENTINO,
a/k/a TONI ANN RUSSO,                                               Case No.:

                           Debtor.
-------------------------------------------------------------X

              STATEMENT PURSUANT TO LOCAL RULES 2016(b) and 2017-1

        The undersigned, pursuant to Rule 2016(b) Bankruptcy Rules, states that:

(1)     The undersigned is the attorney for the above-captioned debtor in this case.

(2)     The compensation paid or agreed to be paid by the debtor to the undersigned as follows:

        (a)      a retainer for legal services rendered or to be rendered in contemplation of and
                 in connection with this case;                          $2,800.00
        (b)      a filing fee                                           $335.00

(3)     The services rendered or to be rendered include the following:

        (a)      analysis of the financial situation, and rendering advice and assistance to the debtor
                 in determining whether to file a petition under Chapter 7 of Title 11 of the United
                 States Code or whether debtor qualifies for Chapter 13;

        (b)      preparation and filing of the petition, schedules, statement of affairs, and other
                 documents required by the Court, other than the representation in contested matters
                 of whatever kind or nature; and

        (c)      representation of the debtor at the § 341 meeting of creditors.

(4)     The undersigned has received no transfer, assignment or pledge of property.

(5)     The undersigned has not shared or agreed to share with any other entity, other than with
        members of the undersigned’s law firm any compensation paid or to be paid.
        The undersigned, pursuant to Rule 2017-1 of the Federal Rules of Bankruptcy Procedure
        states that the following services were performed by the undersigned counsel to the
        Debtor, for which the attorney’s customary attorney fee charged is $595.00 per hour.
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    10/5/17                  Meeting with             1.0 hours
                             Debtor regarding
                             Financial issues,
                             background, and
                             bankruptcy options

                             Review intake form       1.5 hours
    10/11/17
                             and prepare
                             bankruptcy petition

    10/12/17                 Revise Petition          1.5 hours
    10/12/17                 Meeting with             1.5 hours
                             Debtor to review
                             and execute petition
                             & schedules

Dated: October 12, 2017               Respectfully Submitted:

                                      s/ Salvatore LaMonica , Attorney for the Debtor
                                      Salvatore LaMonica, Esq.
                                      LaMonica Herbst & Maniscalco, LLP
                                      3305 Jerusalem Avenue, Suite 201
                                      Wantagh, NY 11793
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